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                         THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN, et al.,

                        Plaintiffs,                Case No. 1:21-cv-03354 (BAH)

                v.                                 Judge Beryl A. Howell

 RUDOLPH W. GIULIANI,

                        Defendant.




   DECLARATION OF MICHAEL J. GOTTLIEB IN SUPPORT OF PLAINTIFFS’
  SUBMISSION DETAILING THE COSTS AND FEES INCURRED IN PREPARING
      AND FILING PLAINTIFFS’ MOTION FOR DISCOVERY SANCTIONS

I, Michael J. Gottlieb, pursuant to 28 U.S.C. § 1746 hereby declare as follows:

     1.        I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the following Declaration is based on my personal

knowledge.

     2.        I represent Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case, and submit this Declaration in support of Plaintiffs’ Submission Detailing the

Costs and Fees Incurred in Preparing and Filing Plaintiffs’ Motion for Discovery Sanctions.

     3.        I am a Partner in Willkie Farr & Gallagher LLP’s (“Willkie”) Washington D.C.

office. I serve on the firm’s Executive Committee, and serve as Co-Chair of Willkie Farr &

Gallagher LLP’s Media & First Amendment Practice Group, as well as the Strategic Motions and

Appeals Practice Group. As part of my practice and administrative responsibilities at the firm, I

have gained familiarity with the market rates charged by law firms comparable to Willkie in terms

of size, experience, and reputation.
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     4.        Willkie Farr & Gallagher LLP is an international law firm founded in 1888, with

more than 1,300 attorneys spread across thirteen offices in six countries. Willkie Farr &

Gallagher LLP’s litigation practice is recognized as a leader in the United States litigation market,

and is ranked Band 1 by Chambers and Partners in both General Commercial Litigation and

White-Collar Crime & Government Investigations Litigation. See Willkie Farr & Gallagher LLP

Law Firm Profile, CHAMBERS AND PARTNERS, https://chambers.com/law-firm/willkie-farr-

gallagher-llp-usa-5:3674. Willkie also has a long history of giving back to the community by

serving as pro bono counsel for indigent clients, including prior litigation in this District

involving defamation claims. In particular, Willkie Farr & Gallagher LLP has consistently been

recognized by the D.C. Circuit in its annual 40 at 50: Judicial Pro Bono Recognition Event, which

recognizes law firms where at least 40% of the firm’s D.C. lawyers perform at least 50 hours of

pro bono work a year.        See Willkie Farr & Gallagher LLP Pro Bono, What We Do,

https://www.willkie.com/social-commitment/pro-bono/our-commitment.

     5.        Meryl C. Governski is a Partner in Willkie Farr & Gallagher LLP’s Washington

D.C. office and represents Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss in the above-

captioned case. She received her law degree from Georgetown University Law Center and a

bachelor’s degree from Cornell University.         Meryl C. Governski practices complex civil

litigation, including high-risk commercial class action litigation, intellectual property and

contract litigation, and election litigation. She has represented clients in previous successful

defamation matters litigated in federal court.

     6.        Annie Houghton-Larsen is a fifth-year associate in Willkie Farr & Gallagher

LLP’s New York City office and represents Plaintiffs Ruby Freeman and Wandrea’ ArShaye

Moss in the above-captioned case. She received her law degree from Georgetown University




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Law Center and a bachelor’s degree from Washington University in St. Louis. Annie Houghton-

Larsen practices complex civil litigation, including mergers and acquisition litigation, security

class actions, government investigations and enforcement actions, and civil rights impact

litigation.

      7.        Timothy P. Ryan is a fourth-year associate in Willkie Farr & Gallagher LLP’s

Washington D.C. office and represents Plaintiffs Ruby Freeman and Wandrea ArShaye Moss in

the above-captioned case. He received his law degree from The George Washington University

Law School and a bachelor’s degree from James Madison University. Timothy P. Ryan practices

complex civil litigation, including at the trial and appellate level, bankruptcy litigation,

government investigations, and enforcement actions.

      8.        John Tyler Knoblett is a fourth-year associate in Willkie Farr & Gallagher LLP’s

Washington D.C. office and represents Plaintiffs Ruby Freeman and Wandrea ArShaye Moss in

the above-captioned case. He received his law degree from The George Washington University

Law School and a bachelor’s degree from the University of Illinois Urbana-Champaign. John

Tyler Knoblett practices complex civil litigation, including securities class actions, government

investigations and enforcement actions, and civil rights impact litigation.

      9.        Maggie MacCurdy is a first-year associate in Willkie Farr & Gallagher LLP’s

Washington D.C. office and represents Plaintiffs Ruby Freeman and Wandrea ArShaye Moss in

the above-captioned case. She received her law degree from The George Washington University

Law School and a bachelor’s degree from Loyola University of Chicago. Maggie MacCurdy’s

practice focuses on complex litigation matters.

      10.       Perri Haser is a first-year associate in Willkie Farr & Gallagher LLP’s Washington

D.C. office and represents Plaintiffs Ruby Freeman and Wandrea ArShaye Moss in the above-




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captioned case. She received her law degree from Georgetown University Law Center and a

bachelor’s degree from Dartmouth College. Perri Haser’s practice focuses on complex litigation

matters.

      11.           Rachel Goodman is counsel at Protect Democracy and represents Plaintiffs Ruby

Freeman and Wandrea’ ArShaye Moss in the above-captioned case. She received her law degree

from NYU School of Law and a bachelor’s degree from Yale College. Rachel Goodman leads

Protect Democracy’s work to combat anti-democratic disinformation through litigation, having

developed and filed impact litigation for more than a decade, and additionally has litigated

cutting-edge housing discrimination cases.

      12.           John Langford is counsel at Protect Democracy and represents Plaintiffs Ruby

Freeman and Wandrea’ ArShaye Moss in the above-captioned case. He received his law degree

from Yale Law School and a bachelor’s degree from Oberlin College & Conservatory. His

primary practice areas are First Amendment, defamation, and media litigation, and he practices

complex civil litigation, including class-action litigation.

      13.           Christine Kwon is counsel at Protect Democracy and represents Plaintiffs Ruby

Freeman and Wandrea’ ArShaye Moss in the above-captioned case. She received her law degree

from Yale Law School and a bachelor’s degree from Columbia University. She leads Protect

Democracy’s efforts to mobilize national-security leaders to defend democracy, and her primary

practice areas are First Amendment, defamation, and media litigation, and she practices complex

civil litigation.

      14.           Counsel for Plaintiffs, including the attorneys listed above, have followed the

same timekeeping and billing practices in this case as is customarily followed in other legal

matters.    Work performed for Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss is




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contemporaneously recorded with brief narratives describing the work performed and the time

spent on each activity to the tenth of an hour. These time entry records are maintained in the

ordinary course of business by the accounting departments of Willkie Farr & Gallagher LLP and

Protect Democracy.

     15.       Pursuant to the Court’s Standing Order 5b, attached as Exhibit A to this

Declaration are time entry records for work performed between June 27, 2023 and August 1, 2023

for which Plaintiffs claim fees. I have reviewed these time entry records and believe they

accurately reflect the time reasonably and necessarily expended in relation Plaintiffs’ July 11,

2023 Motion for Discovery Sanctions (ECF No. 81) and August 1, 2023 Reply in Support of

Plaintiffs’ Motion for Discovery Sanctions (ECF No. 86).

     16.       Part I of Exhibit A lists only the relevant subset of work performed by counsel for

Plaintiffs between June 27, 2023 and August 1, 2023 for which Plaintiffs seek fees. This time

expended was necessary to conduct adequate legal research and to draft well-reasoned arguments

to apprise the Court of the relevant discovery dispute and its extensive history, and to respond to

arguments raised by Defendant Giuliani in his July 25, 2023 response. Part I of Exhibit A does

not list all tasks performed or time expended in connection with the granting of the Motion for

Discovery Sanctions. It does not list all attorneys or staff at Willkie Farr & Gallagher LLP and

Protect Democracy who performed work in connection with the granting of the Motion for

Discovery Sanctions.

     17.       In total, while counsel for Plaintiffs—including attorneys other than those listed

in Part I of Exhibit A—expended more than 200 hours of time in connection with the granting of

the Motion for Discovery Sanctions, Plaintiffs submit only 172.5 hours for payment.




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     18.       Part II of Exhibit A lists the reasonable hourly rates that Plaintiffs submit for the

work performed and the time expended in connection with the granting of the Motion for

Discovery Sanctions.

     19.       Part II.A of Exhibit A lists the customary hourly rates that Willkie Farr &

Gallagher LLP charges clients for work on other matters. The listed hourly rates equate to the

prevailing market rates for legal services provided by law firms of similar stature as Willkie Farr

& Gallagher LLP. The customary hourly rates of myself, Meryl C. Governski, Annie Houghton-

Larsen, Timothy P. Ryan, John Tyler Knoblett, Maggie MacCurdy, and Perri Haser are listed in

Part II.A of Exhibit A.

     20.       Part II.B of Exhibit A lists the hourly rates of myself, Meryl C. Governski, Annie

Houghton-Larsen, Timothy P. Ryan, John Tyler Knoblett, Maggie MacCurdy, Perri Haser,

Rachel Goodman, John Langford, and Christine Kwon as calculated under the LSI-Adjusted

Laffey Matrix for legal services performed between June 27, 2023 and August 1, 2023. See Laffey

Matrix, http://www.laffeymatrix.com/see.html.

     21.       I graduated law school in 2003 and have been out of law school for more than 20

years for purposes of applying the LSI-Adjusted Laffey Matrix.                See Laffey Matrix,

http://www.laffeymatrix.com/see.html.

     22.       Meryl C. Governski graduated law school in 2014 and has been out of law school

for more than 8 years but fewer than 10 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     23.       Annie Houghton-Larsen graduated law school in 2018 and has been out of law

school for more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted

Laffey Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.




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     24.       Timothy P. Ryan graduated law school in 2019 and has been out of law school for

more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted Laffey Matrix.

See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     25.       John Tyler Knoblett graduated law school in 2019 and has been out of law school

for more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     26.       Maggie MacCurdy graduated law school in 2022 and has been out of law school

for more than one year but fewer than 3 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     27.       Perri Haser graduated law school in 2022 and has been out of law school for more

than one year but fewer than 3 years for purposes of applying the LSI-Adjusted Laffey Matrix.

See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     28.       Rachel Goodman graduated law school in 2010 and has been out of law school for

more than 11 years but fewer than 20 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     29.       John Langford graduated law school in 2014 and has been out of law school for

more than 8 years but fewer than 10 years for purposes of applying the LSI-Adjusted Laffey

Matrix. See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     30.       Christine Kwon graduated law school in 2017 and has been out of law school for

more than 4 years but fewer than 7 years for purposes of applying the LSI-Adjusted Laffey Matrix.

See Laffey Matrix, http://www.laffeymatrix.com/see.html.

     31.       Part III of Exhibit A lists the total amount of attorneys’ fees claimed by Plaintiffs

in connection with the granting of the Motion for Discovery Sanctions. Part III.A includes a table




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listing the total amount of attorneys’ fees claimed based on the customary hourly rates charged

by Willkie Farr & Gallagher LLP and for Rachel Goodman, John Langford, and Christine Kwon,

based on the LSI-Adjusted Laffey Matrix. Part III.B includes a table listing the total amount of

attorneys’ fees claimed based on the LSI-Adjusted Laffey Matrix.

     32.      I declare under penalty of perjury that the foregoing is true and correct.



Executed on September 8, 2023.

                                                      /s/ Michael J. Gottlieb
                                                      WILLKIE FARR & GALLAGHER LLP
                                                      MICHAEL J. GOTTLIEB
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                                                      Attorney for Plaintiffs Ruby Freeman and
                                                      Wandrea’ Moss




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